         Case 4:13-cr-00052-BMM Document 112 Filed 08/04/15 Page 1 of 2



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                        CR 13-52-GF-BMM

                    Plaintiff,                          ORDER

 vs.

 DUSTIN JAY AFTER BUFFALO,

                    Defendant.

       This case was referred to United States Magistrate Judge John Johnston for a

revocation hearing and findings and recommendations. Judge Johnston entered his

findings and recommendations on July 9, 2015. Defendant admitted he had

violated Special Condition 7 of his supervised release by consuming alcohol.

Judge Johnston found the admission sufficient to establish the supervised release

violation. He recommended that this Court revoke Defendant's supervised release

and commit him to the custody of the United States Bureau of Prisons for a term of

imprisonment of three months, with 33 months of supervised release to follow.

       No objections were filed by either party. Judge Johnston’s findings

and recommendations are therefore reviewed for clear error. McDonnell

Douglas Corp. Commodore Bus. Mach, Inc., 656 F.2d 1309, 1319 (9th Cir.

1981).
       Case 4:13-cr-00052-BMM Document 112 Filed 08/04/15 Page 2 of 2




      This Court agrees with Judge Johnston’s findings. Defendant admitted he

had violated Special Condition 7. Defendant could be incarcerated for up to 24

months, followed by 36 months of supervised release less any custody time

imposed. The United States Sentencing Guidelines call for a term of imprisonment

of three to nine months. A sentence of three months in custody, followed by 33

months of supervised release is appropriate. The sentence is sufficient but not

greater than necessary.

       IT IS ORDERED that Judge Johnston’s Findings and Recommendations

(Doc. 107) are ADOPTED in full and Judgment shall be entered accordingly.

      DATED this 4th day of August, 2015.




                                        -2-
